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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 TV TOKYO CORPORATION,

        Plaintiff,                                              Case No.: 1:24-cv-02294

 v.                                                             Judge Charles P. Kocoras
 THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge Gabriel A. Fuentes
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.




                                 SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on May 24,2024 [45] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                                  DEFENDANT
                19                                  Chuangcheng8


        THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: December 20, 2024                            Respectfully submitted,



                                                   Keith A. Vogt, Esq. (Bar No. 6207971)
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                                                   E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFF(S)




  Subscribed and sworn before me by Keith A.Vogt, on this 20 of December, 2024.

  Given under by hand and notarial seal.




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                                             COUNTY OF --=-----------


                                                              GRISELDA DELGADO
                                                                OFFICIAL SEAL
                                                 • N.otary Public, State of Illinois
                                                             My Commission Expires
                                                                October 05, 2026
